                      UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          STATESVILLE DIVISION
                       DOCKET NO. 5:19-CR-22-MOC-DSC

 UNITED STATES OF AMERICA                       )
                                                )
        vs.                                     )
                                                )
                                                        DEFENDANTS’ MOTION TO
 1) GREG E. LINDBERG,                           )
                                                      CONTINUE PRETRIAL MOTIONS
 2) JOHN D. GRAY,                               )
                                                        and BILL OF PARTICULARS
 3) JOHN V. PALERMO, JR., and                   )
                                                                DEADLINE
 4) ROBERT CANNON HAYES.                        )
                                                )
                              Defendants.       )
                                                )

       Defendants, John D. Gray (“Gray”), John V. Palermo, Jr. (“Palermo”), and Robert Cannon

Hayes (“Hayes”), through undersigned counsel, respectfully request that the Pretrial Motions and

Bill of Particulars deadline in this matter be continued to October 4, 2019. In support of this

Motion, Defendants Gray, Palermo, and Hayes state as follows:

       1.     The Pretrial Motions and Bill of Particulars deadline for this matter is currently set
              for September 19, 2019.

       2.     Defendants Gray, Palermo, and Hayes filed Defendants’ Motion to Amend
              Scheduling Order and Request a Peremptory Setting on September 17, 2019.

       3.     Defendants Gray, Palermo, and Hayes ask that Defendant Greg Lindberg’s counsel
              have an adequate opportunity to address Defendants’ Motion to Amend Scheduling
              Order and Request a Peremptory Setting.

       4.     Defendants Gray, Palermo, and Hayes ask that this Court have an adequate
              opportunity to review and issue an Order on Defendants’ Motion to Amend
              Scheduling Order and Request a Peremptory Setting.

       5.     Defendants have also been informed that additional discovery may be coming, and
              request additional time to review this discovery.

       6.     This Motion does not affect any other dates set for this matter.

       7.     The government does not oppose this Motion.

       8.     In correspondence on September 16, 2019, Greg Lindberg’s counsel indicated that



      Case 5:19-cr-00022-MOC-DSC Document 62 Filed 09/17/19 Page 1 of 3
              Greg Lindberg does not oppose this Motion.

       9.     This Motion is made in good faith and not for the purposes of delay.

       WHEREFORE, Defendants respectfully request that the Pretrial Motions and Bill of

Particulars deadline in this matter be continued to October 4, 2019 to: (1) allow counsel for

Defendant Greg Lindberg to address Defendants’ Motion to Amend Scheduling Order and Request

a Peremptory Setting; and (2) allow the Court ample time to rule on the parties’ Scheduling Order

Motion.

       Respectfully submitted, this the 17th day of September, 2019.


 s/ Jack M. Knight                              s/ Kearns Davis
 Jack M. Knight                                 Kearns Davis
 N.C. Bar No. 21145                             N.C. Bar No. 22014
 John H. Cobb                                   Daniel D. Adams
 N.C. Bar No. 17052                             N.C. Bar No. 51806
 Patrick A. Doerr                               Shana Fulton
 N.C. Bar No. 50673                             N.C. State Bar No. 27836
 Winston & Strawn LLP                           Brooks, Pierce, McLendon, Humphrey &
 300 S. Tryon Street, 16th Floor                Leonard LLP
 Charlotte, NC 28202                            230 N. Elm Street, Suite 2000
 (704) 350-7700                                 Greensboro, NC 27401
 jknight@winston.com                            kdavis@brookspierce.com
 jcobb@winston.com                              dadams@brookspierce.com
 pdoerr@winston.com                             sfulton@brookspierce.com
 Attorneys for Defendant John D. Gray           Attorneys for Defendant Robert Cannon
                                                Hayes


                                               s/ Brian S. Cromwell
                                               Brian S. Cromwell
                                               N.C. Bar No. 23488
                                               Sarah Fulton Hutchins
                                               N.C. Bar No. 38172
                                               Parker Poe Adams & Bernstein LLP
                                               401 S. Tryon Street, Suite 3000
                                               Charlotte, NC 28202
                                               briancromwell@parkerpoe.com
                                               sarahhutchins@parkerpoe.com
                                               Attorneys for Defendant John V. Palermo, Jr.


                                               2

      Case 5:19-cr-00022-MOC-DSC Document 62 Filed 09/17/19 Page 2 of 3
                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this date, the foregoing DEFENDANTS’

MOTION TO CONTINUE PRETRIAL MOTIONS and BILL OF PARTICULARS

DEADLINE was electronically filed with the Clerk of Court using the CM/ECF system, which

will send notification and serve same upon the parties via the Court’s electronic case filing system.



       This the 17th day of September, 2019.



                                              s/ Brian S. Cromwell
                                              Brian S. Cromwell
                                              N.C. Bar No. 23488
                                              Sarah Fulton Hutchins
                                              N.C. Bar No. 38172
                                              Parker Poe Adams & Bernstein LLP
                                              401 S. Tryon Street, Suite 3000
                                              Charlotte, NC 28202
                                              briancromwell@parkerpoe.com
                                              sarahhutchins@parkerpoe.com
                                              Attorneys for Defendant John V. Palermo, Jr.




                                                 3

      Case 5:19-cr-00022-MOC-DSC Document 62 Filed 09/17/19 Page 3 of 3
